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                                 29 mins · Like
                                                                                                              Facebook © 2015
                                                           Maciek Gądek         Mobile
                                  Write a comment...
                                                           Maciej Ostrowski     Mobile



                                  Ellen Lillian            Beata Rodziewicz     Mobile

                                  1 hr ·
                                                           Dominik Ostrowski       2h
                          This is how we enjoy our morning cup of coffee in Palm Beach, Florida
                          www.floridahousehunt.com Kenneth T. Moro… Mobile

                                                           Julie Schalm


                                                           Cezary Pawlonka         5h


                                                           Basia Gellert           4h


                                                           Mateusz Rymarski

                                                           Iza Paprocka            15m


                                                           Grzegorz Kuczyński 46m


                                                           Dominika Wilczek       1m


                                                           Robbie Johnson          7h


                                                           Grażyna Laskowska
                          Like · Comment · Share
                                                           Mariola Butkiewicz    16h
                             Tina Wills Browne likes this.
                                                        Search
                                                           Michele Tielens Pi… 9h
                                  Write a comment...
                                                   GROUP CONVERSATIONS

                                                       Julie, Mateusz, Robert
                          Tomasz Łosowski was tagged in Karol Kozłowski's photo.


                                  Karol Kozłowski with Tomasz Łosowski and 2 others
                                  2 hrs ·

                          W drodze do Świdnicy. Klub Bolko! Zapraszamy!!!




                                                                                                                                                        21-D
    Timeline Photos




                          Like · Comment · Share


https://www.facebook.com/photo.php?fbid=661673790542800&set=a.498555886854592.107895.100001005541213&type=1&theater                                             1/1
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                                                                 Google+
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Case 9:18-cv-81569-BB Document 1-2 Entered on FLSD Docket 11/15/2018 Page 237 of 366
Residential Full Report                                                                List Price: $3,625,000
          Case 9:18-cv-81569-BB 258 Locha Drive, Jupiter, FL 33458
                                 Document      1-2 Entered on FLSD
                                         MLS#: RX-10019399
                                                                          Docket 11/15/2018
                                                                   St: Expired
                                                                                                 Page 238 of 366
                                                                                     Type: Single Family Detached
                                                            Orig LP: $3,625,000            Range Price:        List Price/SqFt: 512.44

                              29-C                          Area: 5100                     Geo Area: PB31      County: Palm Beach
                                                            Legal Desc: LOXAHATCHEE CLUB AT MAPLEWOOD PL 7 PH 2 LT 17
                                                            Subdivision: The Loxahatchee Club
                                                            Development Name: The Loxahatchee Club
                                                            Model               Parcel ID:                30424111120000170 Front Exp:                              NW
                                                            Name:               Waterfrontage:                                  Garage Spaces:                      4
                                                            Waterfront: Yes        Multiple Ofrs Acptd:                                   Carport Spaces:
                                                            Lot         166 x Taxes:                               55,708                 Private Pool:             Yes
                                                            Dimensions: 180
                                                                               Tax Year:                           2014                   REO:                      No
                                                            Lot SqFt:   29,880
                                                                               Special Assessment:                 No                     Short Sale Addendum: No
                                                                        No
                                                            HOPA:       Hopa Dock:                                                        Short Sale:               No
                                                            Zoning:     SFR Membership Fee Required:               Yes                    Owner/Agent:
                                                                                   Membership Fee Amount:          125,000

Virtual Tour: Click to View
Living Room           28 X 24 Family Room               24 X 20 Master Bedroom                 24   X 20    LivSqFt: 7,074                  Bedrooms: 4
Kitchen               24 X 20                                   Bedroom 2                      14   X 14    SqFt - Total: 8,980             Baths - Full: 5
Dining Room           18 X 17                                   Bedroom 3                      20   X 14    SqFt Source: Tax Rolls          Baths - Half: 1
                                                                Bedroom 4                      14   X 14    Guest Hse:                      Baths - Total: 5.1
                                                                Great Room                     45   X 29    Yr Built: 1999                  Pets Allowed: Yes
                                                                                                            Builder Name:
                                                                                                            Built Desc: UNK
HOA/POA/COA (Monthly):        382.5                   Bldg #:                                              Land Lease:                Mobile Home Size:
Governing Bodies:             HOA                     Total Floors/Stories:  1                             Recreation Lease:          Decal #:
Homeowners Assoc:             Mandatory               Total Units in Bldg:                                 Min Days to Lease:         Serial #:
Lease Times p/Year:                                   Ttl Units in Complex:                                                           Brand Name:
Application Fee:              150                     Unit Floor #:                                                                   Total Assessed Value:
                                                      Membership Fee Amount: 125,000
 Directions: From Indiantown Road - South on Military Trail - West on Toney Penna, Club on Left
 Showing Instructions: Appointment Only; LA Must Accompany; Owner Occupied
 LO: 801457                        The Fite Group
 LM: 20012667                      Debra S Dytrych
 CLO: 801457                       The Fite Group
 CLM:20011602                      Paula M Wittmann
 Com/BuyerAgt: 2.5%                Comm/Non-Rep: 0%                Trans Brk: 2.5%                                       Bonus: No              LD: 02/25/2014
 Var/Dual Rate: No                 List Type: Ex Rt                List Off Agency: Transaction Broker                   XD: 02/24/2015
 Owner Name: Withheld
 Broker Only Remarks: All information deemed reliable but not guaranteed. No commission due until title passes. FAR/BAR As Is Contracts Only. Call Debbie
 561-373-4758 or Paula 561-373-2666 to schedule a showing. Equity Membership Required
 Any Broker Advertise: No
Design: Traditional                                                                                    View: Lake
Construction: CBS                                                                                      Waterfront Details: Lake
Unit Desc:                                                                                             Cooling: Central; Zoned
Flooring: Carpet; Tile; Wood Floor                                                                     Heating: Central; Zoned
Furnished: Unfurnished                                                                                 Security: Burglar Alarm; Gate - Manned; Security Patrol
Dining Area: Breakfast Area; Dining Family; Formal; Snack Bar                                          Membership: Club Membership Req
Master Bedroom/Bath: Dual Sinks; Mstr Bdrm - Ground; Separate Shower; Separate Tub                     Utilities: Cable; Electric; Public Sewer
Window Treatments: Blinds; Impact Glass; Picture                                                       Special Info: Foreign Seller; Sold As-Is
Lot Description: 1/2 to < 1 Acre                                                                       Terms Considered: Cash; Conventional
Private Pool: Inground; Spa                                                                            Parking: 2+ Spaces; Garage - Attached
Storm Protection:                                                                                      Roof: Concrete Tile
Restrict: Buyer Approval; Interview Required; Other                                                    Taxes: City/County
Rooms: Den/Office; Great                                                                               Equestrian Features:
Equip/Appl:Auto Garage Open; Central Vacuum; Dishwasher; Disposal; Dryer; Microwave; Range - Gas; Smoke Detector; Wall Oven
SubdivInfo:Bike - Jog; Exercise Room; Golf Course; Library; Pool; Sauna; Sidewalks; Tennis
Interior:Cook Island; Fireplace(s); Foyer; French Door; Split Bedroom; Volume Ceiling; W/D Hookup; Walk-in Closet
Exterior:Auto Sprinkler; Awnings; Built-in Grill; Covered Patio; Open Patio; Screen Porch; Summer Kitchen; Zoned Sprinkler
Maintenance Fee Incl: Cable; Common Areas; Management Fees; Security; Trash Removal
Original List Price: $3,625,000
Days On Market: 364                                                               Cumulative DOM: 364
Sold Price:                                         Sold Price Sqft:                                Under Contract Date:
Selling Office:                                     Terms of Sale:                                  Sold Date:
Selling Agent:
Public Remarks:Palm Beach Elegance. Tucked away in the exclusive Loxahatchee Club in Jupiter, Florida, this exquisite 4BR with den, 5.5BA spacious home allows for
resort style living and casual entertaining. Required membership fee $95,000.
Information is deemed to be reliable, but is not guaranteed. © 2018 MLS and FBS. Prepared by Mateusz Rymarski on Sunday, February 04, 2018 8:56 PM. The information on
this sheet has been made available by the MLS and may not be the listing of the provider.
History Case  9:18-cv-81569-BB
        for MLS # RX-10019399      Document 1-2 Entered on FLSD Docket 11/15/2018 Page 239 of 366
                                  258 Locha Drive, Jupiter, FL 33458                           $3,625,000


 + MLS #          Status                        Price         % Change          Date     DOM   CDOM Address
 - RX-10019399    Expired                 $3,625,000                     02/24/2015      364     364 258 Locha Drive
           -      Status                  $3,625,000                     02/25/2015
                  Change by: BeachesMLS, Inc.

                            Change at 1:00 AM Eastern: changed Status
                                   Old Value: Active
                                   New Value: Expired

           -      Text, etc.              $3,625,000                     11/19/2014       97
                  Change by: Deborah A Tuttle

                            Change at 2:34 PM Eastern: changed Public Remarks
                                   Old Value: ntertaining.
                                   New Value: ntertaining. Required membersh
                            Change at 2:34 PM Eastern: changed Tax Year
                                   Old Value: 2013.00
                                   New Value: 2014.00
                            Change at 2:34 PM Eastern: changed Taxes
                                   Old Value: 50379.00
                                   New Value: 55708.00

           -      Photos, etc.            $3,625,000                     02/27/2014      362
                  Change by: Christina A. Berry

                            Change at 9:55 AM Eastern: Added document "Floor Plan"
                            Change at 9:55 AM Eastern: Added photo "30 Floor Plan"

           -      New                     $3,625,000                     02/25/2014      364
                  Change by: Christina A. Berry

                            Change at 2:00 PM Eastern: Added photo "29 Rear Elevatio"
                            Change at 2:00 PM Eastern: Added photo "28 Pool Twilight"
                            Change at 2:00 PM Eastern: Added photo "27 Outdoor Dinin"
                            Change at 2:00 PM Eastern: Added photo "26 Patio Twiligh"
                            Change at 2:00 PM Eastern: Removed photo
                            Change at 2:00 PM Eastern: Removed photo
                            Change at 2:00 PM Eastern: Removed photo
                            Change at 2:00 PM Eastern: Removed photo
                            Change at 2:00 PM Eastern: Removed photo
                            Change at 2:00 PM Eastern: Replaced photo "4 Pool"
                            Change at 1:59 PM Eastern: Removed photo
                            Change at 1:59 PM Eastern: Changed primary photo
                            Change at 1:59 PM Eastern: Removed photo

                  Change by: Shelly Darlene Morales

                            Change at 10:21 AM Eastern: Supplement edited
                            Change at 10:18 AM Eastern: Added Virtual Tour
                            Change at 10:18 AM Eastern: Added Virtual Tour Unbranded
                            Change at 10:14 AM Eastern: changed Broker Only Remarks
                                   Old Value: e a showing.
                                   New Value: e a showing. Equity Membership
                            Change at 10:14 AM Eastern: Supplement edited
                            Change at 10:12 AM Eastern: Added photo "30 Rear Elevatio"
                            Change at 10:12 AM Eastern: Added photo "29 Pool Twilight"
                            Change at 10:12 AM Eastern: Added photo "28 Outdoor Dinin"
                            Change at 10:12 AM Eastern: Added photo "27 Patio Twiligh"
Case 9:18-cv-81569-BB Document 1-2 Entered on FLSD Docket 11/15/2018 Page 240 of 366
                Change at 10:11 AM Eastern: Added photo "26 Front Twiligh"
                Change at 10:11 AM Eastern: Added photo "25 Rear Elevatio"
                Change at 10:11 AM Eastern: Added photo "24 View"
                Change at 10:11 AM Eastern: Added photo "23 Covered Patio"
                Change at 10:11 AM Eastern: Added photo "22 Guest Bedroom"
                Change at 10:11 AM Eastern: Added photo "21 Guest Bedroom"
                Change at 10:11 AM Eastern: Added photo "20 Guest Bathroo"
                Change at 10:10 AM Eastern: Added photo "19 Guest Bedroom"
                Change at 10:10 AM Eastern: Added photo "18 Master Bathro"
                Change at 10:10 AM Eastern: Added photo "17 Master Dressi"
                Change at 10:10 AM Eastern: Added photo "16 Master Bedroo"
                Change at 10:10 AM Eastern: Added photo "15 Hallway"
                Change at 10:10 AM Eastern: Added photo "14 Library Offic"
                Change at 10:10 AM Eastern: Added photo "13 Casual Dining"
                Change at 10:10 AM Eastern: Added photo "12 Sitting Area"
                Change at 10:10 AM Eastern: Added photo "11 Billiards Are"
                Change at 10:09 AM Eastern: Added photo "10 Breakfast Are"
                Change at 10:09 AM Eastern: Added photo "9 Family Room"
                Change at 10:09 AM Eastern: Added photo "8 Kitchen"
                Change at 10:09 AM Eastern: Added photo "7 Dining Room"
                Change at 10:09 AM Eastern: Added photo "6 Living Room"
                Change at 10:09 AM Eastern: Added photo "5 Foyer Entry"
                Change at 10:08 AM Eastern: Added photo "4 Pool"
                Change at 10:08 AM Eastern: Added photo "3 Outdoor Dining"
                Change at 10:08 AM Eastern: Added photo "2 Aerial"
                Change at 10:08 AM Eastern: Added photo "1 Front Elevatio"
                Change at 10:08 AM Eastern: Added photo "1 Front Elevatio"
                Change at 10:06 AM Eastern: Added new listing
Photos Case  9:18-cv-81569-BB
       for MLS # RX-10019399     Document 1-2 Entered on FLSD Docket 11/15/2018 Page 241 of 366
                                258 Locha Drive, Jupiter, FL 33458                           $3,625,000


                        1 Front Elevation MLS                           2 Aerial




                          3 Outdoor Dining                              4 Pool




                            5 Foyer Entry                            6 Living Room
MLS # RX-10019399 258 Locha Drive, Jupiter,
        Case 9:18-cv-81569-BB               FL 33458
                                       Document        1-2 Entered on FLSD Docket 11/15/2018 Page 242 of 366$3,625,000

                                   7 Dining Room                                    8 Kitchen




                                   9 Family Room                                10 Breakfast Area




                                  11 Billiards Area                         12 Sitting Area Great Room
MLS # RX-10019399 258 Locha Drive, Jupiter,
        Case 9:18-cv-81569-BB               FL 33458
                                       Document        1-2 Entered on FLSD Docket 11/15/2018 Page 243 of 366$3,625,000

                            13 Casual Dining Great Room                         14 Library Office




                                    15 Hallway                                 16 Master Bedroom




                              17 Master Dressing Room                          18 Master Bathroom
MLS # RX-10019399 258 Locha Drive, Jupiter,
        Case 9:18-cv-81569-BB               FL 33458
                                       Document        1-2 Entered on FLSD Docket 11/15/2018 Page 244 of 366$3,625,000

                                 19 Guest Bedroom                              20 Guest Bathroom




                                 21 Guest Bedroom                              22 Guest Bedroom




                                  23 Covered Patio                                  24 View
MLS # RX-10019399 258 Locha Drive, Jupiter,
        Case 9:18-cv-81569-BB               FL 33458
                                       Document        1-2 Entered on FLSD Docket 11/15/2018 Page 245 of 366$3,625,000

                                  25 Rear Elevation                             26 Patio Twilight




                              27 Outdoor Dining Twilight                        28 Pool Twilight




                                  29 Rear Elevation                              30 Floor Plan
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